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                                                                                             6   Attorneys for Plaintiff
                                                                                                 FARADAY&FUTURE INC.
                                                                                             7
                                                                                             8                             UNITED STATES DISTRICT COURT
                                                                                             9                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                            10
                                                                                            11   FARADAY&FUTURE INC.,                           Case No. 2:18-cv-8807
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                                                                                            12                       Plaintiff,                 COMPLAINT FOR:
                                                            I R V I N E , C A 92614-2545
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                                                                                            13              v.                                  (1) BREACH OF CONTRACT
                                                                                            14   ADIENT PLC, individually and as                (2) UNJUST ENRICHMENT
                                                                                                 successor-in-interest to FUTURIS
                                                                                            15   AUTOMOTIVE (US) INC., d/b/a                    (3) PROMISSORY ESTOPPEL
                                                                                                 FUTURIS GROUP,
                                                                                            16                                                  DEMAND FOR JURY TRIAL
                                                                                                                     Defendants.
                                                                                            17
                                                                                            18              Plaintiff Faraday&Future Inc., for its Complaint, alleges as follows:
                                                                                            19                                    JURISDICTION AND VENUE
                                                                                            20          1.This Court has subject matter jurisdiction over this action pursuant to 28
                                                                                            21   U.S.C. § 1332 as there is complete diversity of citizenship between the parties and
                                                                                            22   because the amount in controversy exceeds the sum of $75,000, exclusive of
                                                                                            23   interest and costs.
                                                                                            24              2.    This Court has personal jurisdiction over Adient PLC pursuant to 28
                                                                                            25   U.S.C. § 1332(b) in that Adient PLC has a regularly established place of business in
                                                                                            26   this District.
                                                                                            27              3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and
                                                                                            28   1367(a) because Plaintiff and Defendant have a regularly established place of
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                                                                                             1   business in this District, and a substantial part of the events giving rise to this claim
                                                                                             2   occurred in this District.
                                                                                             3                                          THE PARTIES
                                                                                             4              4.    Plaintiff Faraday&Future Inc. (“Faraday” or “Plaintiff”) is a California
                                                                                             5   corporation having its principal place of business at 18455 S. Figueroa Street,
                                                                                             6   Gardena, California.
                                                                                             7              5.    Upon information and belief, Defendant Adient PLC (“Adient” or
                                                                                             8   “Defendant”) is a foreign public limited company duly organized and existing in
                                                                                             9   Dublin, Ireland, with a principal place of business in Plymouth, Michigan. At all
                                                                                            10   times relevant herein, Adient has conducted business in the state of California.
                                                                                            11                                 FACTUAL BACKGROUND
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                                                                                            12              6.    Faraday is a start-up technology company focused on the development
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                                                                                            13   of intelligent electric vehicles. Faraday began its development of electric vehicles
                                                                                            14   in 2014.
                                                                                            15              7.    Adient is a leading automotive seat manufacturer.
                                                                                            16              8.    Futuris is a full-seating systems manufacturer with a focus on
                                                                                            17   automotive vehicle seating systems.
                                                                                            18              9.    Upon information and belief, Adient acquired Futuris through a stock
                                                                                            19   purchase agreement on or about September 25, 2017.
                                                                                            20              10.   Upon information and belief, Adient’s acquisition of Futuris included
                                                                                            21   all debt and liabilities of Futuris.
                                                                                            22              11.   In 2015, Faraday and Futuris began negotiating the engagement of
                                                                                            23   Futuris to provide engineering, design, and testing (“ED&T”) services to Faraday
                                                                                            24   for developing prototype automotive seating systems in Faraday electric vehicles.
                                                                                            25              12.   On or about June 15, 2015, Faraday and Futuris entered into a
                                                                                            26   Development Services Agreement pursuant to which Futuris agreed to provide
                                                                                            27   ED&T services (the “Services”) to Faraday.
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                                                                                             1              13.   A true and accurate copy of the Development Services Agreement is
                                                                                             2   attached as Exhibit A.
                                                                                             3              14.   On or about October 1, 2015, Faraday issued Futuris a purchase order
                                                                                             4   under the Development Services Agreement, pursuant to which Futuris agreed to
                                                                                             5   provide the Services for, among other things, automotive seating and Faraday
                                                                                             6   agreed to Futuris the amount of $11,515,470.
                                                                                             7              15.   A true and accurate copy of the October 1, 2015 Purchase Order is
                                                                                             8   attached as Exhibit B.
                                                                                             9              16.   On or about October 10, 2015, Faraday and Futuris entered into a
                                                                                            10   Revised Development Services Agreement adding Appendix A to provide a Scope
                                                                                            11   of Work for production (together, with the June 15, 2015 Development Services
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                                                                                            12   Agreement, the “DSA”).
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                                                                                            13              17.   A true and accurate copy of the Revised Development Services
                                                                                            14   Agreement is attached as Exhibit C.
                                                                                            15              18.   In accordance with the DSA, on or about February 1, 2016, Futuris
                                                                                            16   sent a proposal to Faraday for additional costs relating to the Services to be
                                                                                            17   provided to Faraday to develop automotive seating systems in prototype Faraday
                                                                                            18   electric vehicles.
                                                                                            19              19.   On or about February 24, 2016, Faraday issued a purchase order under
                                                                                            20   the DSA which accepted Futuris’ proposal for additional costs relating to the
                                                                                            21   Services and stated that Faraday would pay Futuris the additional amount of
                                                                                            22   $2,925,000.
                                                                                            23              20.   A true and accurate copy of the February 24, 2016 Purchase Order is
                                                                                            24   included is attached as Exhibit D.
                                                                                            25              21.   Faraday began making payments to Futuris pursuant to the DSA.
                                                                                            26              22.   During the Summer of 2016, Faraday fell behind in making payments
                                                                                            27   to Futuris.
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                                                                                             1              23.   On or about December 9, 2016, Futuris filed suit against Faraday in
                                                                                             2   the Superior Court of the State of California for the County of Los Angeles, Central
                                                                                             3   District, Case No. BC 643406, to collect payment for services and goods allegedly
                                                                                             4   provided under the DSA.
                                                                                             5              24.   On or about December 14, 2016, Faraday and Futuris entered into a
                                                                                             6   Forbearance Agreement, the purpose of which was to resolve claims related to the
                                                                                             7   DSA, the Services, the state court litigation filed by Futuris, and to allow Faraday
                                                                                             8   and Futuris to continue their business relationship.
                                                                                             9              25.   A true and accurate copy of the December 14, 2016 Forbearance
                                                                                            10   Agreement is attached as Exhibit E.
                                                                                            11              26.   Pursuant to the terms of the Forbearance Agreement, Faraday agreed
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                                                                                            12   to remit a total of Ten Million Dollars ($10,000,000) for amounts Futuris contended
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                                                                                            13   it was owed in connection with Futuris’ provision of goods and Services pursuant
                                                                                            14   to the DSA.
                                                                                            15              27.   Faraday remitted Ten Million Dollars ($10,000,000) to Futuris
                                                                                            16   pursuant to the Forbearance Agreement, with the final payment completed on or
                                                                                            17   about February 28, 2017.
                                                                                            18              28.   After completing payment, Faraday discovered that the purchase
                                                                                            19   orders and invoices comprising the basis for the Ten Million Dollars ($10,000,000)
                                                                                            20   paid pursuant to the Forbearance Agreement did not align.
                                                                                            21              29.   Rather, Faraday discovered that Futuris had overbilled Faraday for the
                                                                                            22   Services.
                                                                                            23              30.   On or about May 17, 2017, Futuris, through its Vice President Dave
                                                                                            24   Gordon, emailed “a proposal to restart formal development activity” with Faraday.
                                                                                            25              31.   In a letter attached to the same May 17, 2017 email, Futuris explained
                                                                                            26   that the “premise for the work is that Futuris over-billed slightly on the Beta 60/40
                                                                                            27   seat activity and we will now do this work for [Faraday] as compensation
                                                                                            28   settlement.”
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                                                                                             1              32.   A true and accurate copy of the May 17, 2017 email, and its
                                                                                             2   attachments, from Futuris to Faraday is attached as Exhibit F.
                                                                                             3              33.   Between May 17, 2017 and Fall of 2017, in an effort to continue its
                                                                                             4   business relationship with Futuris, Faraday continued discussing and calculating the
                                                                                             5   amount that Futuris overbilled Faraday.
                                                                                             6              34.   On or about September 13, 2017, Faraday sent a demand letter to
                                                                                             7   Futuris for an overbilled amount initially calculated to total $4,137,238.80.
                                                                                             8              35.   On or about September 25, 2017, before Futuris repaid Faraday or
                                                                                             9   provided the Services, Defendant acquired Futuris.
                                                                                            10              36.   Upon information and belief, Defendant, through its acquisition of
                                                                                            11   Futuris, received the benefit of, inter alia, the amount Futuris overbilled Faraday.
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                                                                                            12              37.   Upon information and belief, Defendant, through its acquisition of
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                                                                                            13   Futuris, acquired all debt and liabilities of Futuris, which would include any
                                                                                            14   liability under the Forbearance Agreement and contractual duties under the DSA.
                                                                                            15              38.   After Defendant’s acquisition of Futuris, on or about October 26,
                                                                                            16   2017, Faraday sent a demand letter to Defendant advising them of the overbilled
                                                                                            17   amount and of Defendant’s obligation to remit the overpaid amount to Faraday.
                                                                                            18              39.   After receiving Faraday’s October 26, 2017 demand letter, Defendant
                                                                                            19   and Faraday began negotiations for Defendant to remit the overbilled amount to
                                                                                            20   Faraday and to provide automotive seating and design services governed by the
                                                                                            21   DSA.
                                                                                            22              40.   On or about December 12, 2017, Defendant sent Faraday an initial
                                                                                            23   quote for those services and goods.
                                                                                            24              41.   On or about January 4, 2018, Faraday issued a purchase order (“PO”)
                                                                                            25   4200000081 to Defendant for startup costs in the amount of $2,960,560.
                                                                                            26              42.   A true and accurate copy of PO 4200000081 is attached as Exhibit G.
                                                                                            27              43.   On or about January 4, 2018, Faraday paid Adient $2,960,560 pursuant
                                                                                            28   to PO 4200000081.
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                                                                                             1              44.   On or about January 16, 2018, Faraday issued PO 4200000082 for
                                                                                             2   additional Beta startup costs. (POs 4200000081 and 4200000082 are together
                                                                                             3   referred to as the “Subject POs”.)
                                                                                             4              45.   A true and accurate copy of PO 4200000082 is attached as Exhibit H.
                                                                                             5              46.   On or about January 16, 2018, Faraday paid Defendant $1,890,721
                                                                                             6   pursuant to PO 4200000082, which together with the $2,960,560, totals $4,851,281.
                                                                                             7              47.   On or about February 13, 2018, after collecting a total of $4,851,281
                                                                                             8   under the Subject POs, Adient terminated abruptly without justification the
                                                                                             9   relationship and agreements with Faraday.
                                                                                            10              48.   After cancelling the relationship and agreements, Adient required
                                                                                            11   Faraday to pay shipping costs of $3,250 to return Faraday’s intellectual property,
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                                                                                            12   documents, and material as defined in the Development Services Agreement.
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                                                                                            13              49.   A true and accurate copy of PO 4300004898 for shipping costs
                                                                                            14   incurred by Faraday for the return of Faraday’s intellectual property, documents,
                                                                                            15   and material as defined in the Development Services Agreement is attached as
                                                                                            16   Exhibit I.
                                                                                            17              50.   A true and accurate copy of PO 4300000125 for shipping costs
                                                                                            18   incurred by Faraday for the return of Faraday’s intellectual property, documents,
                                                                                            19   and material as defined in the Development Services Agreement is attached as
                                                                                            20   Exhibit J.
                                                                                            21              51.   Defendant has not provided any of the goods or services ordered
                                                                                            22   pursuant to the Subject POs.
                                                                                            23              52.   Defendant has not returned the amount equal to $4,851,281 paid
                                                                                            24   pursuant to the Subject POs which Defendant abruptly terminated without cause
                                                                                            25   and pursuant to which Defendant never performed.
                                                                                            26              53.   Defendant has not remitted the amount overbilled under the
                                                                                            27   Forbearance Agreement, which totals $4,137,238.80.
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                                                                                             1                                 FIRST CAUSE OF ACTION
                                                                                             2                    (Breach of Contract as to the Forbearance Agreement)
                                                                                             3              54.   Faraday repeats and re-alleges each and every allegation contained in
                                                                                             4   the preceding paragraphs of this Complaint as if fully set forth herein.
                                                                                             5              55.   Faraday and Adient, individually and through its predecessor Futuris,
                                                                                             6   entered into contracts for services and the sale of goods.
                                                                                             7              56.   Faraday complied in all material respects with its obligations under the
                                                                                             8   contracts.
                                                                                             9              57.   Adient had a contractual obligation to provide the goods and services
                                                                                            10   as they became due.
                                                                                            11              58.   Adient has failed to provide the goods and services as they became
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                                                                                            12   due.
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                                                                                            13              59.   Adient cancelled the contracts and relationship without providing any
                                                                                            14   goods or services.
                                                                                            15              60.   Because Adient has failed to provide the goods and services and has
                                                                                            16   cancelled the contracts, Adient has breached the contracts.
                                                                                            17              61.   As a direct, foreseeable and proximate consequence of the foregoing,
                                                                                            18   Plaintiff has been damaged in an amount according to proof, but believed to be in
                                                                                            19   excess of $5,000,000.
                                                                                            20                                SECOND CAUSE OF ACTION
                                                                                            21    (In the Alternative, Unjust Enrichment/Restitution as to Amounts Overbilled
                                                                                            22                              under the Forbearance Agreement)
                                                                                            23              62.   Faraday repeats and re-alleges each and every allegation contained in
                                                                                            24   the preceding paragraphs of this Complaint as if fully set forth herein.
                                                                                            25              63.   Faraday conferred a benefit on Defendant by providing payment under
                                                                                            26   the Forbearance Agreement to Adient and Adient’s acquired company Futuris for
                                                                                            27   goods and services that were never provided.
                                                                                            28              64.   Adient accepted the payment provided by Faraday.
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                                                                                             1              65.   Adient failed to deliver the goods and services in exchange for the
                                                                                             2   payment provided by Faraday.
                                                                                             3              66.   It would be unjust to permit Defendant to retain the benefit.
                                                                                             4              67.   Faraday has been damaged by Defendant’s retention of this benefit in
                                                                                             5   an amount not less than $5 million dollars in an amount to be determined by trial.
                                                                                             6                                 THIRD CAUSE OF ACTION
                                                                                             7                          (Breach of Contract as to the Subject POs)
                                                                                             8              68. Faraday repeats and re-alleges each and every allegation contained in
                                                                                             9     the preceding paragraphs of this Complaint as if fully set forth herein.
                                                                                            10              69. Faraday and Adient entered into contracts for services and the sale of
                                                                                            11     goods.
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                                                                                            12              70. Faraday complied in all material respects with its obligations under the
                                                            I R V I N E , C A 92614-2545
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                                                                                            13     contracts.
                                                                                            14              71. Adient had a contractual obligation to provide the goods and services
                                                                                            15     as they became due.
                                                                                            16              72. Adient has failed to provide the goods and services as they became
                                                                                            17     due.
                                                                                            18              73. Adient cancelled the contracts and relationship without providing any
                                                                                            19     goods or services.
                                                                                            20              74. Because Adient has failed to provide the goods and services and has
                                                                                            21     cancelled the contracts, Adient has breached the contracts.
                                                                                            22              75. As a direct, foreseeable and proximate consequence of the foregoing,
                                                                                            23     Plaintiff has been damaged in an amount according to proof, but believed to be in
                                                                                            24     excess of $5,000,000.
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                                                                                             1                               FOURTH CAUSE OF ACTION
                                                                                             2   (In the Alternative, Unjust Enrichment/Restitution as to Amounts Paid under
                                                                                             3                           the Subject POs and for Shipping Costs)
                                                                                             4              76. Faraday repeats and re-alleges each and every allegation contained in
                                                                                             5     the preceding paragraphs of this Complaint as if fully set forth herein.
                                                                                             6              77. Faraday conferred a benefit on Defendant by providing payment
                                                                                             7     pursuant to the POs to Adient for goods and services that were never provided.
                                                                                             8              78. Defendant accepted the payment provided by Faraday.
                                                                                             9              79. Defendant failed to deliver the goods and services in exchange for the
                                                                                            10     payment provided by Faraday.
                                                                                            11              80. It would be unjust to permit Defendant to retain the benefit.
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                                                                                            12              81. Faraday has been damaged by Defendant’s retention of this benefit in
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                                                                                            13     an amount not less than $5 million dollars in an amount to be determined by trial.
                                                                                            14                                 FIFTH CAUSE OF ACTION
                                                                                            15                                    (Promissory Estoppel)
                                                                                            16              82. Faraday repeats and re-alleges each and every allegation contained in
                                                                                            17     the preceding paragraphs of this Complaint as if fully set forth herein.
                                                                                            18              83. Faraday and Defendant Adient, individually and through its
                                                                                            19     predecessor Futuris, entered into contracts for services and the sale of goods.
                                                                                            20              84. In order to receive payment thereunder, Adient promised to provide
                                                                                            21     goods and services.
                                                                                            22              85. Faraday reasonably relied on Defendant Adient’s promise to provide
                                                                                            23     goods and services.
                                                                                            24              86. Defendant Adient accepted the payments provided by Faraday.
                                                                                            25              87. Defendant Adient has failed to provide the goods and services
                                                                                            26     promised in exchange for payment.
                                                                                            27              88. It would be unjust to permit Defendant Adient to retain the benefits of
                                                                                            28     the payments provided by Faraday without compensating Faraday.
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                                                                                              1              89. Faraday has been damaged by Defendant Adient’s failure to provide
                                                                                              2     goods and services in an amount not less than $5 million dollars in an amount to
                                                                                              3     be determined by trial.
                                                                                              4                                   PRAYER FOR RELIEF
                                                                                              5              WHEREFORE, Plaintiff Faraday prays for judgment against Defendant
                                                                                              6   Adient, as follows:
                                                                                              7                A.    For judgment against Adient in the amount of not less than $10
                                                                                              8                      million dollars in an amount to be determined by trial, plus interest
                                                                                              9                      as allowed by law;
                                                                                             10                B.    For attorneys’ fees and costs as allowed by law; and,
                                                                                             11                C.    Award of such other and further relief as this Court deems just and
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                                                                                             12                      proper.
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                                                                                             13   Dated: October 12, 2018                       Paul L. Gale
                                                                                                                                                Nicholas J. Schuchert
                                                                                             14                                                 TROUTMAN SANDERS LLP
                                                                                             15
                                                                                                                                                By: /s/ Paul L. Gale
                                                                                             16                                                   Paul L. Gale
                                                                                             17                                                       Attorneys for Plaintiff
                                                                                                                                                      FARADAY&FUTURE INC.
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                                                                                              1                                 DEMAND FOR JURY TRIAL
                                                                                              2              In accordance with Fed. R. Civ. P. 38, Faraday demands a trial by jury on all
                                                                                              3   issues so triable.
                                                                                              4   Dated: October 12, 2018                        Paul L. Gale
                                                                                                                                                 Nicholas J. Schuchert
                                                                                              5                                                  TROUTMAN SANDERS LLP
                                                                                              6
                                                                                                                                                 By: /s/ Paul L. Gale
                                                                                              7                                                    Paul L. Gale
                                                                                              8                                                        Attorneys for Plaintiff
                                                                                                                                                       FARADAY&FUTURE INC.
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